




NO. 07-07-0437-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



FEBRUARY 15, 2008



______________________________





RICHARD W. DEMPS, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE 137TH DISTRICT COURT OF LUBBOCK COUNTY;



NO. 2005-410,574; HONORABLE CECIL G. PURYEAR, JUDGE



_______________________________



Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

ABATEMENT AND REMAND

Following a plea of not guilty, Appellant, Richard W. Demps, was convicted by a jury of sexual assault and sentenced to life imprisonment. &nbsp;Appellant timely filed a notice of appeal challenging his conviction. &nbsp;The clerk’s record filed on February 11, 2008, contains the Trial Court’s Certification of Defendant’s Right of Appeal. &nbsp;The form, however, is not signed by Appellant as required by Rule 25.2(d) of the Texas Rules of Appellate Procedure.
(footnote: 1)
	Consequently, we abate this appeal and remand the cause to the trial court for further proceedings. &nbsp;Upon remand, the trial court shall utilize whatever means necessary to secure a Certification of Defendant’s Right of Appeal in compliance with Rule 25.2(d). &nbsp;Once properly executed, the certification shall be included in a supplemental clerk’s record and filed with this Court on or before March 4, 2008.

It is so ordered.

Per Curiam

Do not publish.

FOOTNOTES
1:Rule 25.2(d) was amended to require that a defendant sign the certification and receive a copy. &nbsp;The amendment became effective September 1, 2007.




